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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              No. 19-cv-01930
                 v.

  $53,082,824.19 IN U.S. CURRENCY,

                      Defendant.




 BANCO SAN JUAN INTERNACIONAL’S INFORMATIVE MOTION ON CONSENT


       Pending before the Court is the Joint Motion for Extension of Time and Continuation of

Pending Court Deadlines, see Dkt. #73 (the “Joint Motion”), by the plaintiff, the United States of

America, and the claimant, Banco San Juan Internacional, Inc. (“BSJI,” and with the United States

of America, the “Parties”). The Parties have sought the requested relief in good faith, because they

believe that discussions between them have the potential to narrow or to eliminate altogether the

issues currently before the Court. Conversely, the filing of additional pleadings might serve to

diminish the Parties’ prospects of reaching any agreement.

       Should the Court deny the Joint Motion, the United States does not object to BSJI being

afforded until the next business day on which to file BSJI’s replies.
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Dated: December 9, 2019

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                                CERTIFICATE OF SERVICE

       I certify that the foregoing was filed on December 9, 2019 with the Clerk of Court using

the CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

                                /s/ Abbe David Lowell
                                Abbe David Lowell
